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                                                                                     UNITED STATES COURT OF APPEA LS FOR THE SECOND ('IRCUI1°

                                                       Thurgood Marshall l».S. Courthenfse 46 Foley Square, Ne w York, NY 10007 Telephone: 212-857-8500

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              Income source                                    Average monthly                                                                              Amount expected next
                                                               amount during the past                                                                       month
                                                               12 months

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              rental income)
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              Retirement (such as social security,             $                                 j
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              pensions. annuities, insurance)                                                                 $4.9
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              Disability (such as social security,             $                       . ,§\
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              insurance payments)
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              Unemployment payments                            $                                              $                                (
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              Other (specify):                                                                                                                              :s
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             2.       List your employment history for the past two years, most recent employer/i/'st. (Gross                                                                                                                                                                                        I
                      monthly pay is bf;/'bre faxes or other deductions.)                                                                                                                                                                                                                            ;
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             3.       List your spouse 's employment hisloryjbr the past two years, mos! recent employer.frs{.
                      (Gross monthly pay is bejbre taxes or other dedz¢c'tion.s'.)


              Employer                                    Address                              Dates of employment                   Gross
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             4.        How mffch cash do you andyour spouse                           1?IlQ"1
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                      Below, :Hale any money you or your spouse have in bank accounts or in any oiNer
                      .financial inslflution.


               Financial Institution                                Type of Account            Amount you have                 Amount your
                                                                                                                               spouse has

                                                                                               $                               $

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              If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must
              attach a statement certify?erf by the appropriate institutional ojicel' showing all receipts,
              expemtifures, and balances during the last stk months in your institutional accounts. If you
              have multiple accounts, perhaps because you have been in multiple ifzstitlIfiolzs, attach one
              certified statement of eaelz account.

              5.       List the a.s'set.s. and their values, which you own or your spouse owns. Do not list elolhing
                       and ordinary hozcseholdjifrnishiizgv.


                  Home                                                Other real estate                            Motor vehicle #1

                  (Value) 8                                           (Value) $                                    (Value) $
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              Motor vehicle #2                                        Other assets               Other assets                       I
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             6.      State every person., business. or ofgonizatiotz owing you or your spouse money, and the                        i
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                     cznzourzr owed


              Person owing you or your spouse                               Amount owed to you      Amount owed to your
              money                                                                                 spouse                          a
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             7.      Stare the persons who rely on you or your spouse for support.                                                  I
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              Name for, funder 18, initials only]                                        Relationship                Age            I
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             8.      Estimate the average monthly expenses qfyau and your family. Show separately the
                     amounts paid by your spouse. Ar§zIsf any payments that are made weekly, biweekly.
                     quarterly, semirmnually, or annually to show the monlhfy mie.

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                                                                                   `iLou                                               Your Spouse
              Rent or home-mortgage payment (including lot rented for              $                                                   S
              mobile home)                              4.
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                     Are real estate taxes included?   ET»==9'i763 EINQ
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                     Is property insurance included?       "*'.Yes [IND                                                                      K ....



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              Utilities (electricity, heating fuel, water, sewer, and telephone)   $ ifJ    \,...~
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              Home maintenmlce (repairs and upkeep)                                Si.f "f  4           .p z
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              Food                                                                 $            II (                                   s
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              Clothing                                                             8 :g IJ~e1 .f                              ¢
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              Laundry and did-cleaning                                             $
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              Medical and dental expenses                                          $                                                    3;
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              Transportation (not including motor vehicle payments)                $                                                    $             g



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              Recreation, entertainment, newspapers, magazines. etc.               $              \.,,/                                 al            QQ)

              Insurance (not deducted from wages or included in mortgage payments)
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             9.     Do you expect any mqior changes to your monthly income or expenses or in your nss'ets or                                                                                                   E

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       DEFEnDANT' I;mve4~\£4m . Aw                         .. _>J~ #344 ¢          eaC"9 °'"""'"*'*'**'"***
                                                              JUDGMENT                                                               CAS E NUMB ER:

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                                                      VTBy Default                           I          g   Af€ex* Court Trial
            L        E    B y C au r i                [I Un Stipulation                                     Uefendar¥t Did Not
                                                                                                            Appear at Trial
                                                                                                                                     33            Q \l §)c'3'"¢ I
                                                                                        ,,       l`U9GM!»3NT
      4l_                 8v &sAuL
            a. Qefendent was properEn served with a copy of the summons and campiaint.
            b, ,Defendant failed Io answer the complaint or appear and defend the action within the time avowed by law.
            c.      D ef en dan t s. ciefauli was entered by the clerk upon p3a§ntiff's'application,

            d. O Clerk's Judgment (Code Civ. Proc., §585(a)). Defendant was sue cl only on a contract or judgment of a cc-urtof
                              this state for the recoveryof money,                                                                                                                .

            be. 34" i Court Judgment (Code Civ, Proc., §585(b)). The cciurt considered
                    (1)    1 piainéffs testimony and other evidence.
                    (2) [77] 1:'>3airitlff's written declaration (Code Civ.-Proc., § 585(d)}.
      2, i`--3 QN STIPULATION                               4

         a . Plaintiff and defendant agreed (stipulated) that a iudgmeni ice entered inflxis ease. The court approved the stipulated
             judgment and.                             '
            b, l""} the signed written stipulation was flied in the case.
            c. 3            I the stipuiatiori was stated in open court                                      the sifpuiation was stater on the record.

      3.            . AFTER COLIRT TRIAL. The jury was waived, Ttxe couch considered the evidence.
            a. The case was tried on (date and time}'
                    b e f o r e (name ofjudicial officer) z
                                                                                                                                                                    .*

            b. Appearances by:                                                           r

                              Pialniiff name each): .                                                            I-'I Plaintiffs attorney (name each):
                    (1)                                                                                                 it )
                    (2)                                                                                                 (2)

                    [ii Continued Qn Attachment Sb,

                    I,     l.0efendani (name each):                                                                     Def endant 's attorney (name each):

                    (1)                                                                                                 (15

                    (2)                                                                                                 42)
                    I-'j Continued on Attachment 3b.
            C. O Defendant did nc1€ appear at tr§aE. Befendani was properly served with notice of trial.
            d. [ii Abatement of decision (Code Gov. Proc., §632)                                    .       V     was not        [ ii w as            r equ es t ed.
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       JUD-190 [R<¢v. January 1. 20243



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            4.            J Stipulated Judgment. Judgment is entered according to the stipulation of the parties.
            5. Parties. Judgment is                                                                                  '
                  8.      Q for plaintiff (name each): i\x"d so, *                                      P                w         c. E] for cross~complairlant(name each):                                                   4

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                                                                                                                                                                                                                                                              ;
                                                                                                                                                               and against cross-defendant (name each)'                                                       I
                                        and against defendant (names):                                                                                                                                                                                         :
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                                      [ii] Continued on Attachment 5a.                                                                                       94 Continued on Attachment 5c.
                  b. I            I for defendant (name each):                                                                     d.       [ I t for cross~defer1dant (name each):                                                         \




            6.     Amount. ~"7 S, 000; (;r»(':)
                   a. [X] Defendant named in item 5a above must                                                                    c. [I Crossdefendant named In item So above must pay
                            pay plaintiff on the complaint:                                                                                 cross~complainant on the cross-complaint:

                 (1) V-"i Damages                                                                                                  (1 ) [al Damages                                                            $
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                           interest at the                                                                                                   Interest at the
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                 (3)       Attorney fees                                                  s
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                 (4)              Costs                                                                                            (4) l " .. I Costs                                                          S
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                 (5) t o ] Other (specify)--1.40\',»;<*><5;
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                 (6)              TOTAL                                                                                            (6)                     TOTAL                                               s
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                       b. [=] Plaintiff to receive nothing from defendant                                                          d. [ii Cross~complalnant to receive nothing from
                                        namediru item Tb.                                                                                    cross-defenciant named in item Sd.
                                    .               Defendant named In Item 5b to recover                                                                      l'       I Cross~defendant named in item 5d to recover
                                                    costs S        .                                        .                                                              costs S
                                                    la] and attorney fees s                                                                                               It-Iand altomey fees S
            7. la Judgment debtor Is a natural person, and as provided in Code Cly. Proc., §§683.110. 885.0101
                     $                of this lodgment is on a claim related to medical expenses
                     $                of this judgment is on a claim related to personal debt
            8. l"°'} Other(specify)'                                                                                                235*
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                                                         UNITED STATES DISTRICT COURT
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                                                     Defendant                                   )
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                                                AFFIDAVIT ACCOMPANYING MOTION
                                           FOR PERMISSION TO APPEAL IN FORMA PAUPERIS

                                                In

              Affidavit in Support of Motion                                                  Instructions

                I swear or affirm under penalty of perjury                                      Complete all questions in this application and
              that, because of my poverty, I cannot prepay                                     then sign it. Do not leave any blanks: if the
              the docket fees of my appeal or post a bond for                                  answer to a question is "O," "none," or "not
              them. I believe I am entitled to redress. I swear                                applicable (N/A)," write that response. If you
              or affirm under penalty of perjury under United                                  need more space to answer a question or to
              States laws that my answers on this form are                                     explain your answer, attach a separate sheet of
              true and correct. (28 U.S.C. § 1746, 18 U.S.C.                                   paper identified with your name, your case's
              § 1621.)                                                                         docket number, and the question number.

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               Signed:                                                     - I
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              1.         For both you andyour spouse estimate the average amount of money received rom each
                         of the following sources during the past I2 months. Aayust any amount that was received
                         weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate. Use    g /<?-

                         gross amounts, that is, amounts before any deductions for taxes or otherwise.               L,.
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             Income source                                  Average monthly                                                         Amount expected next
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             Income from real property (such as             $                                      $        /, ;`\                  $                                             $                                          I*
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             rental income)                                               x
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             Retirement (such as social security,           $       r                     I.       $                                $        .
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             pensions, annuities, insurance)                                                                                                                                                                                    I


             Disability (such as social security,           $                       .              $               f"°""
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             insurance payments)                                                                       (4   -""./                                                                                                               g
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            2.            List your employment historyjbr the past two years, most recent employer/irst. (Gross                                                                                                             4
                          monthly pay is before taxes or other deductions.)                                                                                                                                             1    §

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             Employer                      Address                                                 Dates of employment                                               Gross                                                  3


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            3.    List your spouse'.s' employment historyfor the past two years, most recent employerfirst.
                  (Gross monthly pay is before taxes or other deductions.)
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            Employer                                                 Address                         Dates of employment                                         Gross         I
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            4.     How much cash do you and your spouse have?i$/ /'                                                                5
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                   Below, state any money you or your spouse have in bank accounts or in any other
                  financial institution.


             Financial Institution                                             Type of Account       Amount you have                                   Amount your
                                                                                                                                                       spouse has
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            Hyou are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must
            attach a statement certified by the appropriate institutional officer showing all receipts,
            expenditures, and balances during the last six months in your institutional accounts. If you
            have multiple accounts, perhaps because you have been in multiple institutions, attach one
            certified statement of each account.

            5.           List the assets, and their values, which you own or your spouse owns. Do not list clothing
                         and ordinary household furnishings.


             Home                                                                Other real estate                          Motor vehicle #1

             (Value) $                                                           (Value) $                                  (Value) $
                                                                                                                            Make and year:
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             Motor vehicle #2=*:                           Other assets                  Other assets
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             Make and year:
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            6.         State every person, business, or organization owingyou or your spouse money, and the
                       amount owed
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                                                                    Amount owed to you        Amount owed to your
             Person owing you or your spouse
             money                                                                            spouse
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            7.         State the persons who rely on you or your spousefor support.
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                                                                                   Relationship                Age
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(22 of 26), Page 22 of 26
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                               Case: 24-2828, 12/13/2024, DktEntry: 32.1, Page 22 of 26
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            8.      Estimate the average monthly expenses of you and yourfamily. Show separately the
                    amounts paid by your spouse. A¢§ust any payments that are made weekly, biweekly,
                    quarterly, semiannually, or annually to show the monthly rate.

                                                                                  You                                                  Your Spouse

             Rent or home-mortgage payment (including lot rented for              $                                                    s
             mobile home)
                    Are real estate taxes included?      -Mes E No
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                    Is property insurance included?   [3TYps   E] No
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             Utilities (electricity, heating fuel, water, sewer, and telephone)         g                                              $
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             Home maintenance (repairs and upkeep)                                                                                     $         it'


             Food                                                                 s 2 :J
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             Laundry and dry-cleaning                                                                 ;,.f                             $
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             Medical and dental expenses                                          $                                                    $        R.



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             Transportation (not including motor vehicle payments)                $                 \,__,#'
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             Recreation, entertainment, newspapers, magazines, etc.               $         I                                          s
             Insurance (not deducted from wages or included in mortgage payments)
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                    Homeowner's or renter's:                                      $                                               .;   $                 '
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                    Other:                                                    -
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             Taxes (not deducted from wages or included in mortgage               $ .               =.;;""' ,,,, ..                     s                    `\
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             payments) (specify):                                                   '           ,/"
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             Installment payments
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                    Motor Vehicle :                                               S 8-2                                                 S                 "ii



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                    Credit card (name) :                                          $                                     /               $            r\.... s

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                    Department store (name) :                                                                      _f
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                    Other:

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(23 of 26), Page 23 of 26              Case: 24-2828, 12/13/2024, DktEntry: 32.1, Page 23 of 26                                                                                                                                                                       I



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            Alimony, maintenance, and support paid to others                                                    $                 ~if'" =
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            Regular expenses for operation of business, profession, or                                          $                                                                               $
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            Other (specify):                                                                                    $                                                                               $
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                  Total monthly expenses:                                                                       $                                                                              $
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           9.     Do you expect any major changes to your monthly income or expenses or in your assets or
                  liabilities during the next 12 months?                                                                                                                                                                                                             3
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           10.    Have you spent or will you be s end if  any money for expenses or attorney fees in
                  connection with this lawsuit? Dee .>-< fro                                                                                                                                                                                                     !I
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           11.    Provide any other information that will help explain why you cannotpay the docket fees
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           12.    State the city and state cfyour legal residence                                                                                                                                                                                                I;
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(24 of 26), Page 24 of 26                                               Case: 24-2828, 12/13/2024, DktEntry: 32.1, Page 24 of 26                                                                                                                                                   I
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                 UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

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                *If different methods of service have been used on different parties, please indicate on a separate
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                Certificate of Service Form

 Sample Format
(25 of 26), Page 25 of 26                              Case: 24-2828, 12/13/2024, DktEntry: 32.1, Page 25 of 26


              UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT                                                                                                                                                                                                                        1




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             *A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
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